              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION
                              5:16 CR 48-4


UNITED STATES OF AMERICA,        )
                                 )
Vs.                              )                          ORDER
                                 )
WENDY MICHELLE PENNINGTON,       )
                                 )
              Defendant.         )
________________________________ )


      THIS MATTER came before the undersigned for the purpose of conducting

a hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure of

Defendant as a charge contained in the Bill of Indictment. At the call of this matter

on for hearing, it appeared the Defendant was present with her counsel and the

Government was present through AUSA Kenneth Smith. The undersigned advised

the parties that from a review of the Factual Basis (#50) it appeared to the Court that

the Factual Basis that had been filed did not comply with the Superseding Order of

the United States District Court for the Western District of North Carolina regarding

the information and facts that are to be included in a factual basis document.

3:14mc05 (#2) The Court then provided the parties with a period of time in which

they could either amend the factual basis document or file a new factual basis

document. Later, during the morning of October 19, 2016, the Defendant and the

Government requested that the Court continue the plea hearing to give the parties

sufficient time to comply with the instructions of the Court. The undersigned was


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advised that the trial of this matter was not scheduled until January 2017 and as a

result, the undersigned will grant the motion to continue the plea or Rule 11

proceeding.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the oral motion of the parties to

continue the plea or Rule 11 proceeding in this matter is ALLOWED.




                             Signed: October 31, 2016




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